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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF RHODE ISLAND


 STATE OF COLORADO, et al.,

       Plaintiffs,

       v.                                     Civil Action No. 25-cv-121-MSM-LDA

 U.S. DEPARTMENT OF HEALTH
 AND HUMAN SERVICES, et al.,

       Defendants.


              UNITED STATES’ NOTICE OF COMPLIANCE WITH
             THE COURT’S PRELIMINARY INJUNCTION ORDER

       Defendants respectfully submit this Notice of Compliance regarding the

 Court’s Preliminary Injunction Order (“PI Order”) entered on May 16, 2025. The

 Court’s PI Order directed (among other things):

        Defendants’ counsel shall provide written notice of this order to all
        Defendants and agencies and their employees, contractors, and grant-
        ees by the end of the day on Tuesday, May 20, 2025. . . . By the end of
        the day on Tuesday, May 20, 2025, the Defendants SHALL FILE on
        the Court’s electronic docket a Status Report documenting the actions
        that they have taken to comply with this Order, including a copy of
        the notice and an explanation as to whom the notice was sent.

 ECF No. 84 at 59. Consistent with the Court’s Order, on May 16, 2025, counsel

 for Defendants provided written notice of the PI Order to counsel for the U.S.

 Department Of Health And Human Services (“HHS”) and confirmed that the

 agency should disseminate the Order to all employees, contractors, and grantees.

       On May 19, 2025, the Director of the Division of Policy, Oversight, and

 Evaluation within HHS’s Office of Grants directed that notice of the PI Order,



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 and a copy of the Order, be sent to all HHS grantees, via an email attached hereto

 as Exhibit A. Also on May 19, 2025, HHS Acting General Counsel sent a note to

 HHS’s Chief of Staff to be sent to all agency staff, providing notice of the Court’s

 PI Order, through its Controlled Correspondence system, attached hereto as Ex-

 hibit B. On May 20, a copy of Exhibit A was sent to all active HHS grant recipients

 via the GrantSolutions and eRA systems, as shown in an email attached hereto

 as Exhibit C. Finally, also on May 20, 2025, the agency sent notice, including a

 copy of Exhibit A and the Court’s PI Order, to all agency employees and contrac-

 tors, via an email attached hereto as Exhibit D.


       Dated: May 20, 2025                Respectfully submitted,

                                          THE UNITED STATES OF AMERICA,
                                          By its Attorneys,

                                          SARA MIRON BLOOM
                                          Acting United States Attorney

                                          /s/ Kevin Love Hubbard
                                          KEVIN LOVE HUBBARD
                                          Assistant United States Attorney
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                         CERTIFICATION OF SERVICE

       I hereby certify that, on May 20, 2025, I filed the foregoing document through
 this Court’s Electronic Case Filing (ECF) system, thereby serving it upon all regis-
 tered users in accordance with Federal Rule of Civil Procedure 5(b)(2)(E) and Local
 Rules Gen 304.

                                          /s/ Kevin Love Hubbard

                                          KEVIN LOVE HUBBARD
                                          Assistant United States Attorney




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